                        Case 2:13-cv-01072-JAM-KJN Document 25 Filed 06/05/14 Page 1 of 4


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                 6    Attorneys for Plaintiffs JOSEPH L. JOHNSON
                      and CYNTHIA A. MITCHELL, individually and
                 7    as successor-in-interest and personal
                      representative of decedent MARIO D. S .M. ROMERO
                 8

                 9                                 IN THE UNITED STATES DISTRICT COURT

               10
                                                  FOR THE EASTERN DISTRICT OF CALIFORNIA
               11

               12 JOSEPH L. JOHNSON, an individual, CYNTHIA                 CASE NO. 2:13-cv-01072-JAM-KJN
                  A. MITCHELL, an individual, and as successor-in-
               13 interest and personal representative of decedent
                  MARIO D. S .M. ROMERO,                                    STIPULATION AND ORDER
               14                                                           REGARDING TESTING OF
                                                                            BIOLOGICAL SAMPLES
               15                   Plaintiffs,

               16           vs.

               17 THE CITY OF VALLEJO, a municipality and
                  charter city; POLICE OFFICER DUSTIN B.
               18 JOSEPH, an individual, POLICE OFFICER SEAN
                  G. KENNEY, an individual, VALLEJO CHIEF OF
               19 POLICE JOSEPH M. KREINS, an individual and
                  DOES 1-5 inclusive,
               20
                                  Defendants.
               21

               22
                            The parties to this action hereby stipulate to the procedure set forth below for
               23
                      transferring biological samples of the deceased, Mario D.S.M. Romero, from the Solano
               24
                      County Coroner’s Office to a laboratory designated in the Order below for the purpose
               25
                      of obtaining DNA information. All the parties stipulate to the foregoing and to the
               26
                      chain of custody identified in the Order as follows:
               27
                            GOOD CAUSE having been made to appear and pursuant to the stipulation of all
               28
                      counsel it is ordered that: Genex Diagnostics, Inc., #180-4616 25th Avenue NE, Seattle,
Bowles & Verna LLP                                                   1
 2121 N. California
     Suite 875                    STIPULATION AND [PROPOSED] ORDER REGARDING TESTING OF BIOLOGICAL SAMPLES
Walnut Creek 94596
       Case 2:13-cv-01072-JAM-KJN Document 25 Filed 06/05/14 Page 2 of 4


 1
     Washington 98105 will overnight a DNA test kit directly to the Solano County
 2
     Coroner’s Office at 530 Union Avenue, Suite 100, Fairfield, CA 94533, Phone: 707-
 3
     784-7000, via Federal Express. An official at the Solano County Coroner’s Office will
 4
     sign for the test kit to maintain the chain of custody. An official from the Coroner’s
 5
     Office will then submit a blood spot card in the test kit pursuant to the directions by
 6
     Genex Diagnostics, and the blood on the blood spot card will be blood taken from the
 7
     decedent Mario D.S.M. Romero. The Solano County Coroner’s Officer will verify prior
 8
     to providing the sample from the decedent that more blood samples from the decedent
 9
     Mario D.S.M. Romero are available and will be preserved. The Solano County
10
     Coroner’s Office official will then overnight the test kit and the blood spot card to
11
     Genex Diagnostics via Federal Express. Upon receipt of the test kit and the blood spot
12
     card, an official from Genex Diagnostics will sign for the test kit and the blood spot card
13
     to ensure that the chain of custody is maintained.
14
           Genex Diagnostics will then perform a blood test to confirm that it has adequate
15
     blood samples on the blood spot card to perform a DNA test on Mario D.S.M. Romero.
16
     Once it confirms that fact, it will perform the DNA test, and upon completion of the
17
     DNA testing, the results of all testing reports shall be sent to William Nagle at Bowles
18
     & Verna LLP, 2121 North California Boulevard, Suite 875, Walnut Creek, California
19
     94596, to Catherine Haley at the Law Offices of Catherine Haley, 1633 San Pablo
20
     Avenue, Oakland, California 94612, and to Mark A. Jones at Jones & Dyer, 1800 J
21
     Street, Sacramento, California 95811. After the completion of all the testing, the blood
22
     spot card can be destroyed.
23
           Upon completion of the DNA test, a swab of Namaria Romero’s saliva will be
24
     sent by Natasha Romero on behalf of the minor Namaria Romero directly to Genex
25
     Diagnostics in Vallejo California. A swab of Natasha Romero’s saliva will also be sent
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     directly to Genex Diagnostics in Vallejo California. Written results of all DNA testing
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     will be provided to all parties to this action.
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                STIPULATION AND [PROPOSED] ORDER REGARDING TESTING OF BIOLOGICAL SAMPLES
       Case 2:13-cv-01072-JAM-KJN Document 25 Filed 06/05/14 Page 3 of 4


 1
           All fees for the above-referenced DNA testing, including delivery costs are to be
 2
     paid by Bowles & Verna.
 3

 4   Dated: June 5, 2014                    JONES & DYER

 5

 6
                                     By: /s/____________________________________
 7                                       Mark A. Jones
 8                                       Kristen K. Preston
                                         Attorneys for Defendants City of Vallejo,
 9                                        D. Joseph, S. Kenney and J. Kreins
10
     Dated: June 5, 2014                    CITY OF VALLEJO
11

12
                                     By: /s/____________________________________
13                                       Claudia Quintana
14                                       Kelly J. Trujillo
                                         Attorneys for Defendants City of Vallejo,
15                                       D. Joseph, S. Kenny, and J. Kreins
16

17   Dated: June 5, 2014           BOWLES & VERNA LLP
18

19                                   By: /s/____________________________________
20                                       Lawrence Goldberg
                                         William Nagle
21                                       Attorneys for Plaintiffs
22
     Dated: June 5, 2014             THE HALEY LAW OFFICES, P.C.
23
                                     LAW OFFICES OF CATHERINE HALEY
24

25
                                     By: /s/____________________________________
26                                       Matthew D. Haley
                                         Catherine Haley
27
                                         Attorneys for Plaintiffs
28

                                                 3
              STIPULATION AND [PROPOSED] ORDER REGARDING TESTING OF BIOLOGICAL SAMPLES
       Case 2:13-cv-01072-JAM-KJN Document 25 Filed 06/05/14 Page 4 of 4


 1                                              ORDER
 2         IT IS SO ORDERED.
 3

 4
     Dated: 6/5/2014                          /s/ John A. Mendez_________
 5
                                              U.S. District Court Judge
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                STIPULATION AND [PROPOSED] ORDER REGARDING TESTING OF BIOLOGICAL SAMPLES
